      Case 9:20-cv-00043-RC-CLS Document 1 Filed 03/10/20 Page 1 of 23 PageID #: 1

PRISONER S CIVIL RIGHTS COMPLAINT (Rev. 05/2015)

                                 IN THE UNITED STATES DISTRICT COURT
                              FOR THE Eastern DISTRICT OF TEXAS
                                      Lufkin DIVISION

Edward Herrera 585 06
Plaintiff s Name and ID Number

Jester HI Unit                                    FILED
Place of Confinement                        U.s. DISTRICT COURT
                                       EASTERN DISTRICT OF TEXAScase no 9:20cv43
                                                MAR 1 0 2020 (clerk will assign the number)
v.                                                                        Jury Trial Demand

Lorie Davis (Director) deputy
Defendant’s Name and Address Individual AND OFFICIAL CAPACITY

 arden Wheaton 2665 Prison Rd. L Iove Iady/ TX 7585L Full Name Unknown
Defendant’s Name and Address iNdividU and Official Capacity

Assistant Warden .1.l.la _.26.65 ..._Er.i.so Rd.            Love Lady TX 75851, Full Name U known
Defendant’s Name and Address
(DO NOT USE ETAL. )

                                     INSTRUCTIONS - READ CAREFULLY

NOTICE:

Your complaint is subject to dismissal unless it conforms to these instructions and this form.

1. To start an action you must file an original and one copy of your complaint with the court. You should keep
a copy of the complaint for your own records.

2. Your complaint must be legibly handwritten, in Me, or typewritten. You, the plaintiff, must sign and declare
under penalty of perjury that the facts are correct. If you need additional space, DO NOT USE THE REVERSE
SIDE OR BACKSIDE OF ANY PAGE. ATTACH AN ADDITIONAL BLANK PAGE AND WRITE ON IT.

3. You must file a separate complaint for each claim you have unless the various claims are all related to the same
incident or issue or are all against the same defendant, Rule 18, Federal Rules of Civil Procedure. Make a short and
plain statement of your claim, Rule 8, Federal Rules of Civil Procedure.

4. When these forms are completed, mail the original and one copy to the clerk of the United States district court
for the appropriate district of Texas in the division where one or more named defendants are located, or where the
incident giving rise to your claim for relief occurred. If you are confined in the Texas Department of Criminal
Justice, Correctional Institutions Division (TDCJ-CID), the list labeled as VENUE LIST is posted in your unit
law library. It is a list of the Texas prison units indicating the appropriate district court, the division and an address
list of the divisional clerks.



                                                             1                                          Rev. 05/15
  Case 9:20-cv-00043-RC-CLS Document 1 Filed 03/10/20 Page 2 of 23 PageID #: 2


Defendant s Name And Address Continued

 . Major Lamb 2665 Prison Rd L Love Lady IX 75851
    FulllName Unknown, Individual and Official Capacity


5. Major Campbell, 2665 Prison Rd 1, Love Lady, IX 75851
    Full Name Unknown, Individu l and Official Capacity


6. Supervisor Ms. Masters, 2665 Prison Rd 1, Love Lady, IX 75851
    Full ame Unknown, Individual.and Official Capacity


7. Supervisor Capt. Bullard, 2665 Prison Rd 1, Love Lady, IX 75851
    Full Na e Unknown, Individual and Official Capacity




                                   Pg. II
      Case 9:20-cv-00043-RC-CLS Document 1 Filed 03/10/20 Page 3 of 23 PageID #: 3

FILING FEE AND IN FORMA PA UPERIS (IFF)

1. In order for your complaint to be filed, it must be accompanied by the statutory filing fee of $350.00 plus an
administrative fee of $50.00 for a total fee of $400.00.

2. If you do not have the necessary funds to pay the fee in full at this time, you may request pennission to proceed
in forma pauperis. In this event you must complete the application to proceed in forma pauperis, setting forth
information to establish your inability to prepay the fees and costs or give security therefor. You must also include
a current six-month history of your inmate trust account. If you are an inmate in TDCJ-CID, you can acquire the
application to proceed in forma pauperis and the certificate of inmate h ist account, also known as in forma
pauperis data sheet, from the law library at you prison unit.

3. The Prison Litigation Reform Act of 1995 (PLRA) provides ... if a prisoner brings a civil action or files an
appeal in forma pauperis, the prisoner shall be required to pay the full amount of a filing fee. See 28 U.S.C.
§ 1915. Thus, the court is required to assess and, when funds exist, collect, the entire filing fee or a initial partial
filing fee and monthly installments until the entire amount of the filing fee has been paid by the prisoner. If you
submit the application to proceed in forma pauperis, the court will apply 28 U.S.C. § 1915 and, if appropriate,
assess and collect the entire filing fee or an initial partial filing fee, then monthly installments from you inmate trust
account, until the entire $350.00 statutory filing fee has been paid. (The $50.00 administrative fee does not apply
to cases proceeding in forma pauperis.)

4. If you intend to seek in forma pauperis status, do not send your complaint without an application to proceed
in forma pauperis and the certificate of inmate trust account. Complete all essential paperwork before submitting
it to the court.

CHANGE OF ADDRESS

It is your responsibility to inform the court of any change of address and its ef ective date. Such notice should be
marked NOTICE TO THE COURT OF CHANGE OF ADDRESS and shall not include any motion for any
other relief. Failure to file a NOTICE OF THE COU T OF CHANGE OF ADDRESS may result in the dismissal
of your complaint pursuant to Rule 41(b), Federal Rules of Civil Procedure. I. 2 3 4 5 6 7


I. PREVIOUS LAWSUITS:
        A. Have you filed any other lawsuit in state or federal court relating to your imprisonment? YES y NO
        B. If your answer to “A” is “yes , describe each lawsuit in the space below. (If there is more than one
             lawsuit, describe the additional lawsuits on another piece of paper, giving the same inf rmation.)

             1. Approximate date of filing lawsuit: N/A
            2. Parties to previous lawsuit:
                Plaintiff(s)                                                   N/A
                Defendant(s)                                                                   N/A
            3. Court: (If federal, name the district; if state, name the county.) N/A
            4. Cause number: N/A-
            5. Name of judge to whom case was assigned:                                                          /A
            6. Disposition: (Was the case dismissed, appealed, still pending?) N/A
            7. Approximate date of disposition:                                                                /A

                                                                                                        Rev. 05/15
                                                            2
          Case 9:20-cv-00043-RC-CLS Document 1 Filed 03/10/20 Page 4 of 23 PageID #: 4

     II. 1 PLACE OF PRESENT CONFINEMENT: JESTER III UNIT

     III. EXHAUSTION OF GRIEVANCE PROCEDURES:
           Have you exhausted all steps of the institutional grievance procedure? _ YES                             NO
           Attach a copy of your final step of the grievance procedure with the response supplied by the institution.

     IV. PARTIES TO THIS SUIT:
           A. Name and address of plaintiff: EDWARD HERRERA; 585206
                                                 Jester III Unit., 3 Jester Rd
                                                 Richmond IX 77 06

           B. Full name of each defendant, his official position, his place of employment, and his full mailing address.

              Defendant#1: WARDE WHEATON. FULL NAME UNKNOWN. SR. WARDEN IN CHARGE OF CARE. CUSTODY
and Control. Eastha Unit. 2665 Prison Rd 1. Love Lady. IX 75851. Individual and Official Capacity
              Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.
Did not provide dequate health safety standards at the unit textile factory causing plaintiff harm

              Defendant#2: LORIE DAVIS. DIRECTOR OF TDCJ. IN CHARGE OF CARE. CUSTDODY AND CONTROL OF

TDCJ Units. P.0. Box 99. Huntsville. IX 775 2. Individual and Official Capacity
              Briefly describe the acts(s) or omission(s) of this defendant which you claimed harmed you.
Did not provide sufficient health and safety measures on the E stham Unit Textile Factory

              Defendant#3: ASSISTANT WARDEN ALLAN. FULL NAME UNKNOWN. 2ND IN COMMAND OF CARE. CUSTOD
and control on Eastham U it. 2665 Prison Rd 1. Love Lady. IX 75851. Individual and Official Capacit
              Briefly describe the acts(s) or omission(s) of this defendant which you claimed harmed you.
Did not provide adequate health safety standards at the u it textile factory causi g plaintiff har

              Defendant#4: MAJOR IAMB. In CHARGE OF DAILTY OPERATIONS AND CARE. CUSTODY AND CONTROL.
Full Name Unknown. 2665 Prison Rd 1. Love Lady. IX 75851. Individual and Official Capacity
              Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.
Did not provide plaintiff with adequate health safety measure in the textile factory causing harm

              Defendant #5: aJOR CAMPBELL. CaRMET FACTORY SUPERVISOR. FULL AME UNKNOWN
                2665 Prison Rd. l._l qvf Iady... IX 7S 5.1., Individ al. and Offici l..Capacity
              Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.
Failed to inform the inmates of the risk associated with breathing in those poisoness textile
che icals after long periods of time




                                                                                                       Rev. 05/15
                                                             3
   Case 9:20-cv-00043-RC-CLS Document 1 Filed 03/10/20 Page 5 of 23 PageID #: 5


Fm i_ Name of Fach Defendant, Hiss Official Position His Place of Employment and
His Full Mailing Address Continued


Defendant 6. Supervisor Ms. Masters.. Full Name Unknown In charge of the i mates
WORKING IN THE (GARMET) TEXTILE FACTORY, INDIVIDUAL AND OFFICIAL.CAPACITY, 2665
Prison Rd 1, Love Lady, TX 75851
Briefly Acts: Did not warn Plaintiff of the possible danger of breathing poisoness
CHEMICAL FOR A LONG PERIOD OF TIME IN THE (GARMET) TEXTILE FACTORY.


Defendant . Supervisor Capt. Bullard, Supervisor of the (Garmet) textile factory.
Full Na e Unknown, Official and Individual Capacity, 2665 Prison Rd 1, Love Lady,
IX 75851
Briefly Acts: Did not warn Plaintiff of the possible danger of breathing poisoness
CHEMICALS FOR A LONG PERIOD OF TIME IN THE (GARMET) TEXTILE FACTORY.




                                       Pg. 31
    Case 9:20-cv-00043-RC-CLS Document 1 Filed 03/10/20 Page 6 of 23 PageID #: 6

V. ' STATEMENT OF CLAIM:

     State here in a short and plain statement the facts of your case, that is, what happened, where did it happen,
     when did it happen, and who was involved. Describe how each defendant is involved. You need not give
     an legal arguments or cite any cases or statutes. If you intend to allege a number of related claims, number
     and set forth each claim in a separate paragraph. Attach extra pages if necessary, but remember the
     complaint must be stated briefly and concisely. IF YOU VIOLATE THIS RULE, THE COU T MAY
     STRIKE YOUR COMPLAINT.
        hile housed at the Eastham Unit from 2005-2017 Plaintiff was asstgnfh to work
       IN THE (GARMET) TEXTILE FACTORY FROM 2005 UNTIL 2016. APPROXIMATELY TEN YEARS.
      During that time. Plaintiff was exposed to breathing in large amounts of dust
      CHEMICALS AND-OTHER POLLUTANTS IN THE FACTORY WITHOUT BEING PROVIDED WITH A Y FORM
      OF BREATHING PROTECTION AGAINST THESE POISONOUS CHEMICALS. THE FAILURE TO PROVIDE
      A SAFE WORKING ENVIRONMENT RESULTED IN PLAINTIFF BEING DIAGNOSED WITH iNTF STTTTAI
      Lung Disease with Chronic Hypoxic Respiratory Failure due to nhal mqnaLuLbng
      Injuries sustained while working in the factory. This ultimately resulted in
      NUMEROUS HOSPITAL STAYS AND PERMANENT PLACEMENT IN THE SHF!TFRFD HO SING F nTITTY

VI. RELIEF:
     State briefly exactly what you want the court to do for you. Make no legal arguments. Cite no cases or
     statutes.
    ' Plaintiff is seeking compensatory and nominal a d p nittvf ram sp and:

      MEDICAL COVERAGE

VII. GENERAL BACKGROUND INFORMATION:
     A. State, in complete form, all names you have ever used or been known by including any and all aliases.

          (no aliases) Edward Herrera

     B. List allTDCJ-CBD identificaiton numbers you have ever been assigned and all other state or federal
         prison or FBI numbers ever assigned to you.

             56621 and 585206

VIII. SANCTIONS:
     A. Have you been sanctioned by any court as a result of any lawsuit you have filed? YES y NO
     B. If your answer is yes, give the following information for every lawsuit in which sanctions were
         imposed. (If more than one, use another piece of paper and answer the same questions.)

         1. Court that imposed sanctions (if federal, give the district and division): N/A
        2.          Case                         number:                                    N/A
        3. Approximate date sanctions were imposed:                                                            /A
        4. Have the sanctions been lifted or otherwise satisfied? N/A YES /A NO

                                                                                                  Rev. 05/15
                                                       4
  Case 9:20-cv-00043-RC-CLS Document 1 Filed 03/10/20 Page 7 of 23 PageID #: 7



                          Statemfnt Of Claim f.nNTiNUED


at Jester III Unit which is a medical facility designed to care and treat medically
ILL INMATES IN NEED OF SERIOUS MEDICAL ATTENTION. THE DISREGARD FOR THE SAFETY AND
WELFARE OF THE PLAINTIFF HAS CAUSED HIS CONDITION TO BE PERMANATELY DISABLED
REQUIRING FULL TIME 2 HOUR DAILY OXYGEN USE AND PLACING PLAINTIFF IN A WHEELCHAIR
AS WELL AS SIGNIFICANTLY REDUCING HIS LIFESPAN. THIS LACK OF FUTURE EMPLOYABILITY.
HEALTH COSTS. REDUCED QUALITY OF LIFE AND PSYCOLOGICAL IMPACT HAS A DEVASTATING
EFFECT ON PLAINTIFF AND HIS IMMEDIATE FAMILY. RESPONSIBILITIES FOR THIS UNSAFE
ENVIRONMENT CAUSING THESE DAMAGES INCLUDE BUT ARE NOT LIMITED TO THE FOLLOWING
DEFENDANTS: lORIE DAVIS (DIRECTOR') OF TDCJ. INDIVIDUAL ND OFFICIAL CAPACITY.
Senior Warden Wheaton. Warden at Eastham Unit. Full Name Unknown. Individual and
Official Capacity
Assistant arden Allan. 2nd in charge of Eastham Unit. Full Name.Unknown. Individual
and Official Capacity
Major Campbell. (Garmet) Textile Factory Supervisor on Eastham Unit. Full Name
Unknown. I dividual and Official Capacity
Ms. Masters. (Garmet) Textil Factory Supervisor on Eastham Unit. Full Name Unknown.
Individual and Official Capacity
Capt. Bullard. (Garmet) Textile Factory Supervisor o Eastham Unit. Full ame
Unknown. Individual and Official Capacity


These Defendants individually and officially failed to provide Plai tiff with the
NECESSARY SAFETY MEASURES TO PREVENT HIM FROM BECOMMING INFECTED WITH A DEADLY
LUNG DISEASE AND SUSTAINING INJURIES.
      Case 9:20-cv-00043-RC-CLS Document 1 Filed 03/10/20 Page 8 of 23 PageID #: 8

       C. Has any court ever warned or notified you that sanctions could be imposed?                   YES X NO
       D. If your answer is yes, give the following information for every lawsuit in which a warning was issued.
            (If more than one, use another piece of paper and answer the same questions.)

           1. Court that issued warning (if federal, give the district and division): N/A
          2.          Case                         number:                                    N/A
          3. Approximate date warning was issued: N/A



Executed                                                                    on:
                DATE

                                                                            (Signature of Plaintiff)


PLAINTIFF S DECLARATIONS

       1. I declare under penalty of perjury all facts presented in this complaint and attachments thereto are true
           and correct.
       2. I understand, if I am released or transferred, it is my responsibility to keep the court informed of my
            current mailing address and failure to do so may result in the dismissal of this lawsuit.
       3. I understand I must exhaust all available administrative remedies prior to filing this lawsuit.
       4. I understand I am prohibited from brining an in forma pauperis lawsuit if I have brought three or more
           civil actions or appeals (from a judgment in a civil action) in a court of the United States while
            incarcerated or detained in any facility, which lawsuits were dismissed on the ground they were
            frivolous, malicious, or failed to state a claim upon which relief may be granted, unless I am under
            imminent danger of serious physical injury.
       5. I understand even if I am allowed to proceed without prepayment of costs, I am responsible for the entire
            filing fee and costs assessed by the court, which shall be deducted in accordance with the law from my
            inmate trust account by my custodian until the filing fee is paid.



Signed this //r/Tl day of                                       , 20         /    ,
                     (Day) (month) (year)




                                                                            (Signature of Plaintiff)


WARNING: Plaintiff is advised any false or deliberately misle ding information provided in response to the
above questions may result in the imposition of sanctions. The sanctions the court may impose include, but
are not limited to, monetary sanctions and the dismissal of this action with prejudice.




                                                                                                  Rev. 05/15
                                                        5
Case 9:20-cv-00043-RC-CLS Document 1 Filed 03/10/20 Page 9 of 23 PageID #: 9



                        In The United States District Court
                         For The Easter District of Texas
                                 Lufkin Division




Edward Herrera 585206
       Plaintiff


Jester III Unit
       Place of Confinement



                                        Jury Trial Demand



Memorandum of Law in support of Prisoner s Civil Rights Complaint 1985


To the Honorable Judge of said Court:


Comes now Ed ard Herrera, Plaintiff, PRO-SE a d would like to show the Court
the following:
Case 9:20-cv-00043-RC-CLS Document 1 Filed 03/10/20 Page 10 of 23 PageID #: 10

                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     LUFKIN DIVISION

  Edward Herrera 585206
          Plaintiff
  Jester HI Unit
          Place of Confinement


          vs.                                          Jury Tri l Demand

          Defendants
  1. Lorie Davis.. Director Individual and Official Capacity
  2. Warden Wheaton, Warden, Full a e Unknow , Individual and Official Capacity
  3. Assistant arden Allan, Assistant arden, Full Name Uknown, Individual and
      Official Capacity
  4. M jor Lamb, Unit Major, Full a e Unk own, Individual and Official Capacity
  5. ajor Campbell, Supervisor of Textile Factory, Full Name Unknown, I dividual
     and Official Capacity
  6. Ms. asters, Supervisor of Textile Factory, Full Name Uknown, Individual
     and Offici l Capacity
  7. Capt. Bullard, Supervisor of Textile Factory, Full Name Unknown, Individual
     and Official Capacity


                             T. J risdictional Rights ,.


      The United States Eastern District Court, Lufkin Division has jurisdiction
 due to Plaintiff s injuries bei g sustained at the Eastham Unit, Texas Depart¬
 ment of Criminal Justice System in Love Lady, Texas, 2665 Prison Rd, 1, 75851.

                            Cruel and Unusual Punishme t


      The Eighth A end ent, which forbids cruel and unusual punishment, governs
 THE TREATMENT OF CONVICTED PRISONERS. To WIN AN EIGHTH AMENDMENT CASE, YOU
 MUST ESTABLISH BOTH AN OBJECTIVE COMPONENT, THE SERIOUSNESS OF THE CHALLENGED
 CONDITIONS, AND A SUBJECTIVE COMPONENT, AND THE STATE OF MIND OF THE OFFICIALS
 WHO ARE RESPONSIBLE FOR THEM. IN PLAINTIFF'S CASE, HE WAS FORCED TO WORK IN
 THE (GARMET) TEXTILE FACTORY FOR APPROXIMATELY TEN (10) YEARS WITHOUT BEING


                                        1
Case 9:20-cv-00043-RC-CLS Document 1 Filed 03/10/20 Page 11 of 23 PageID #: 11


 Cruel and Unusual Punishment Continued


 PROVIDED WITH THE NECESSARY BREATHING MASK TO AVOID BEING EXPOSED TO THE
 POISONOUS CHEMICALS UTILIZED IN THE FACTORY. THE SUPERVISORS MAJOR CAMPBELL
 and Ms. Masters and Capt. Bullard who were considered licensed and highly
 TRAINED IN TEXTILE FACTORY WORK SHOULD HAVE KNOWN THE RISK AND TAKEN THE
 NECESSARY PREVENTIVE MEASURES TO INSURE THE SAFETY AND WELFARE OF THE INMATES.
 Recent Supreme Court decisions concer ing priso ers Eighth Amendment claims
 HAVE EMPHASIZED PHYSICAL HARM OR THE RISK OF IT. THE COURT HAS HELD THAT
 UNSAFE CONDITIONS THAT POSE AN UNREASONABLE RISK OF SERIOUS DAMAGE TO (A
 PRISONER) FUTURE HEALTH/ DO VIOLATE THE EIGHTH AMENDMENT EVEN IF THE DAMAGE
 HAS NOT YET OCCURRED AND MAY NOT AFFECT EVERY PRISONER EXPOSED TO THE CONDITIONS.
 IN UMEROUS DECISIONS HAVE HELD THAT CONDUCT CAN VIOLATE THE EIGHTH AMENDMENT
 EVE IF IT DOES OT INFLICT PHYSICAL INJURY/ OR CAUSE LASTING OR PERMANENT
 HARM. With RESPECT TO CONDITIONS OF CONFINEMENT/ THE DELIBERATE INDIFFERENCE
 TEST IS USED TO DETERMINE WHETHER OFFICIALS ACTED WITH A SUFFICIENTLY CULPABLE
 STATE OF MIND. UNDER THIS STANDARD/ PRISON OFFICIALS ARE LIABLE FOR DENYING
 HUMANE CONDITIONS OF CONFINEMENT/ SI PLY BY KNOWING THAT AN INMATE MAY HAVE
 FACED A SUBSTANTIAL RISK OF SERIOUS HARM AND DISREGARDED THAT RISK BY FAILING
 TO TAKE REASONABLE MEASURES TO ABATE IT. SIMILARLY/ ALLEGED DEFICIENCIES IN
 MEDICAL CARE A D FACILITIES REQUIRE A SHOWING OF DELIBERATE INDIFFERENCE
 TOWARD SERIOUS MEDICAL NEEDS. DELIBERATE INDIFFERENCE TO MENTAL HEALTH AS WELL
 AS PHYSICAL NEEDS IS ACTIONABLE. THE HEALTH RISK POSED BY INVOLUNTARY EXPOSURE
 TO ENVIRONMENTAL TOBACCO SMOKE (ETS) CAN FOR THE BASIS OF AN EIGHTH AMENDMENT
 Violation. Prisoners need not show present injury to state a claim/ but must
 EXPOSURE TO UNREASONABLY HIGH LEVELS OF ETS/ THAT SERIOUSLY THREATEN THEIR
 FUTURE HEALTH.


                     Case La / Cruel a d Unusual Punishme t


 Morgan v. MorgenseN/ A65 F.5d 1041/ 10 5-10A7 (9th Cir.2006)
 8th Amendme t claim stated when inmate forced to continue working in prison
 PRINT SHOPT DESPITE NOTITYING OFFICIALS OF DANGEROUSLY DEFECTIVE PRINTING
 PRESS.
 Smith v. U.S. 561 F.5d 1090/ 1104-05 (10th Cir.2009)
 8th Amendment claim stated where prisoner assigned to work in closet known to
 CONTAIN ASBESTOS.



                                    2
Case 9:20-cv-00043-RC-CLS Document 1 Filed 03/10/20 Page 12 of 23 PageID #: 12



 Case Law.. Cruel and Unusual Punishment Continued


  Farmer 511 U.S. at 841- 2
 The Supreme Court rejected an objective st ndard under which a prison official
 WHO WAS UNAWARE OF A SUBSTANTIAL RISK OF HARM TO AN INMATE WOULD NEVERTHELESS
 BE HELD LIABLE UNDER THE EIGHTH AMENDMENT IF THE RISK WAS OBVIOUS AND A REAS¬
 ONABLE PRISON OFFICIAL WOULD HAVE BEEN AWARE OF IT. THE OFFICIAL MUST BOTH
 BE AWARE OF THE FACTS FROM WHICH THE INFERENCE COULD BE DRAWN THAT A SUBSTANTIAL
 RISK OF SERIOUS HARM EXISTS. AND HE MUST ALSO DRAW THE INFERENC .
 Helling v. McKinney. 509 U.S, 25. 5A-35 (1995)
 8th Amendment Claim stated by inmate alleging that prison officials with
 DELIBERATE INDIFFERENCE. EXPOSED HIM TO LEVELS OF ETS POSING UNREASON BLE RISK
 OF SERIOUS DAMAGE TO FUTURE HEALTH.


                              Deliberate Indifference


      AS WITH OTHER ElTHTH AMENDMENT CLAIMS. THE DELIBERATE INDIFFERENCE STANDARD
 requires a Plaintiff to show that the defendant s had actual knowledge of an
 OBJECTIVELY CRUEL CONDITION AND DID NOT RESPOND REASONABLY TO THE RISK. ANOTHER
 CLAIM A PLAINTIFF CAN FILE IS MEDICAL MALPRACTICE. SINCE A MISDIAGNOSIS OR
 NONDIAGNOSIS RESULTING FROM FAILURE TO EXERCISE ORDINARY KNOWLEDGE. SKILL AND
 CARE DOES CONSTITUTE MALPRACTICE. HOWEVER. THE COURT DOES NOT HAVE TO ACCEPT
 MEDICAL STAFF'S STATEMENTS THAT THEY DID NOT KNOW YOU HAD A SERIOUS NEED IF
 THERE IS EVIDENCE (DIRECT OR INDIRECT) TO THE CONTRARY. THE SAME IS TRUE WHERE
 NON-MEDICAL PERSONNEL FAIL TO ACT BUT THERE IS EVIDENCE THAT THEY DID KNOW
 YOU WERE ILL OR AT RISK. IN PLAINTIFF'S CASE lORIE DAVIS. DIRECTOR AND WARDEN
  heaton. Warden and Assistant Warden Allan, and Unit Major Lamb, all are
 RESPONSIBLE FOR THE CARE CUSTODY AND CONTROL OF THE INMATES ON THE EASTHAM
 Unit. Upon arrival at the unit, each inmate is assigned a job by the unit
 CLASSIFICATION COMMITTEE WHICH CONSISTS OF THE WARDEN. ASSISTANT ARDEN AND THE
 Major. The inmate does not have the luxury to specify which job he wants, he
 MUST SIMPLY WORK WHICH EVER JOB ASSIGNMENT HE IS INSTRUCTED OR ORDERED TO DO SO.
 It IS THE RESPONSIBILITY OF THESE PEOPLE TO MAKE CERTAIN THAT THEY PROVIDE YOU
 WITH A SAFE AND HEALTHY WORK ENVIRONMENT BY PROVIDING YOU WITH THE NECESSARY
 PROTECTION TO PROTECT YOU FROM ANY AND ALL POSSIBILITIES OF DANGEROUS POLLUTANTS
 AND OTHER POISONOUS MATERIAL. AND THAT THERE ARE PROPERLY TRAINED SKILL PERSONNEL
 TO ADEQUATELY SUPERVISE THE INMATES IN THE VARIOUS WORK FACTORIES. THE SUPREME


                                         3
Case 9:20-cv-00043-RC-CLS Document 1 Filed 03/10/20 Page 13 of 23 PageID #: 13



  Deliberate Indifference Continued


  Court has enunciated a two part test for determi ing hether a private indi¬
  vidual HAS ACTED UNDER COLOR OF STATE LAW. FIRST THE CLAIMED DEPRIVATION MUST
  BE CAUSED BY THE EXERCISE OF A RIGHT OR PRIVILEGE CREATED OR IMPOSED BY THE
  STATE OR UNDERTAKEN BY A PERSON FOR WHOM THE STATE IS RESPONSIBLE. SECOND,
  THE PRIVATE PARTY MUST BE FAIRLY CHARACTERIZED AS A STATE ACTOR. THE COURT
  HAS PROVIDED AT LEAST THREE EX MPLES OF CONDUCT THAT SATISFIES BOTH PRO GS OF
  1983 S UNDER COLOR OF STATE LAW REQUIREMENT. THE FIRST EXAMPLE IS THE MISUSE
  OF POWER, POSSESSED BY VIRTUE OF STATE LAW AND MADE POSSIBLE O LY BECAUSE THE
  WRONGDOER IS CLOTHED WITH THE AUTHORITY OF STATE LAW. THE SECOND EXAMPLE OF
  CONDUCT THAT MEETS 1983 S UNDER COLOR OF STATE LAW REQUIREMENT IS A DEFENDANT
  WHO HAS ACTED TOGETHER WITH OR HAS OBTAI ED SIGNIFICANT AID FROM STATE OFFICIALS,
  THOUGH NOT AN OFFICER OF THE STATE. THE THIRD EXAMPLE IS AN ACTION BY A
  PRIVATE PERSON WHO IS UTHORIZED TO EXERCISE STATE AUTHORITY.


                        Case Law, Deliberate Indifference


  Benjamin v. Fraser, 3 3 F.3d 35, 52 (2d Cir.2003)
  Evidence of Large numbers of inoperable windows, clogged or dirty ventilation
  registers nd exhaust vents in showers and cells, and poor air quality, plus
  findings concerning threatened nd actual health hazzards supported finding
  of constitutionally in dequate ventilation.


  Board v, Farnha , 39 F.3d 69, 86 (7th Cir.2005)
  Holding evidence that ve tilation system was contaminated with fiberglass dust
  a d mold supported an Eighth A endment Claim.


  Keenan v. Hall, 83 F.3d 1083, 1090 (9th Cir.1996)
  Holding allegations that the air was saturated with fumes of feces, urine and
 VOMIT SUPPORTED AN EIGHTH AMENDMENT VENTILATION CLAIM.


 Harris v. Angelina County, Texas, 31 F.3d 331, 335 (5th Cir. 199*0; Willi ms
 v. Griffin, 952 F.2d 820, 82A-25 (Ath Cir.1992)
 Overcrowding accompanied by unsanitary and da gerous conditions can constitute
 an Eighth Amendment violation.




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Case 9:20-cv-00043-RC-CLS Document 1 Filed 03/10/20 Page 14 of 23 PageID #: 14



  Case Law Deliberate Indifference Continued

  Wallis v. Baldwin 70 F.5d 107 1077 (9th cir.1995)
  Holding prison officials who had information about possible asbestos conta¬
  mi ation HAD A DUTY TO I SPECT BEFORE SENDING UNPROTECTED WORK CRE S TO THE
  LOCATION.




                            Plaintiffs Medical History


       Plaintiff was first diagnosed with acute on chronic respiratory failure
  WITH HYPOXIA PROGRESSIVE DYSPNEA AND COUGH AND SUSPECT HE HAS PROGRESSIVE
  interstitial lung disease. O the 20th day of March 2017. Please see attached
  EXHIBITS. The LUNGS ARE UNDEREXPANDED diffuse poorly defined airspace opac¬
  ities ARE SEEN THROUGHOUT BOTH LUNGS MAY REPRESENT A MULTIFOCAL INFECTIOUS
  PROCESS VERSUS MODERATE PULMONARY EDEMA/ AIRSPACE OPACIFICATION IS MOST PROM¬
  INENT OVER THE RIGHT LOWER LOBE WITH OBSUCRATION OF THE RIGHT HEMIDIAPHRAGM.
  AN FOCAL CONSOLIDATION CANNOT BE EXCLUDED. THE RIGHT COSTOPHRE IC ANGLE IS
  BLUNTED SUGGESTINE OF A TRACE PLEURAL EFFUSION. PLAINTIFF HAS MANY HOSPITAL
  STAYS SINCE BEING DIAGNOSED AND SEVERE WHE GHT LOSS/ PLEASE SEE ATTACHED
  exhibits. Plaintiff was assigned to work in the garment factory from 2005
  UNTIL 2016 FOR APPROXIMATELY 10 YEARS/ BREATHING IN POISONOUS CHEMICALS/ SO
  THERE IS RISK OF INHALATIONAL LUNG INJURY. PRIOR TO WORKING AT THE INSTIT¬
  UTIONAL GARMENT FACTORY/ PLAINTIFF HAD NO PRIOR MEDICAL LUNG INJURIES. PLAIN¬
  TIFF IS NOW PERMANATELY ON AN OXYGEN MACHINE 24 HOURS A DAY AND CANNOT BREATH
  ON HIS OW ITHOUT IT. PLAINTIFF IS ALSO PERMANATELY ASSIGNED TO A WHEELCHAIR
  DUE TO HIS DIFFICULT BREATHING ISSUES.



                       The Right To Safe orking Co ditions

       The Thirteenth Amendment to the Federal Constitution forbids slavery or
  INVOLUNTARY SERVITUDE/ EXCEPT AS A PUNISHMENT FOR CRIME WHEREOF THEPARTY
  SHALL HAVE BEEN DULY CONVICTED. THUS CONVICTED PRISONERS MAY BE REQUIRED TO
  WORK AND MAY BE DISCIPLINED IF THEY REFUSE. PERSONS WHO ARE NOT CONVICTS ARE
  PROTECTED BY THE THIRTEENTH AMENDMENT FROM MANDATORY WORK/ EXCEPT THAT THEY
  MAY BE REQUIRED TO PERFORM/ GENERAL HOUSEKEEPI G RESPONSIBILITIES/ THAT FOR


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Case 9:20-cv-00043-RC-CLS Document 1 Filed 03/10/20 Page 15 of 23 PageID #: 15


 The Right To Safe Working Conditions Continued

 HEALTH AND SAFETY MUST BE ROUTINELY OBSERVED IN ANY MULTIPLE LIVING UNIT.
 Some courts have expanded this last idea beyond helping keep up ones own living
 AREA TO INCLUDE INSTITUTIONAL TASKS SUCH AS ORKING IN JAIL FOOD SERVICE. It
 IS UNCONSTITUTIONAL TO GIVE INMATES JOBS INVOLVING SUPERVISORY OR DISCIPLINARY
 AUTHORITY OVER OTHER INMATES BECAUSE OF THE RISK OF VIOLENCE OR EXPLOITATION.
 Prisoners ay not be required to do work that is unsafe beyond their physical
 CAPABILITIES/ OR CONTRARY TO THEIR RELIGIOUS BELIEFS. THEY AY NOT BE GIVEN
 WORK ASSIGNMENTS THAT ARE MEDICALLY INAPPROPRIATE. YOU HAVE A RIGHT TO HUMANE
 CONDITIONS IN PRISON. CONDITIONS THAT ARE HARSH BUT NOT HARMFUL DO NOT VIOLATE
 the Eighth Amendment when they act with deliberate indifference to a prison
 CONDITION THAT EXPOSES A PRISONER TO AN UNREASONABLE RISK OF SERIOUS HARM OR
 DEPRIVES A PRISONER OF A BASIC HUMAN NEED. To CHALLENGE PRISON CONDITIONS
 using the Eighth Amendment you must meet both objective and subjective req¬
 uirements. Farmer v. Brenna / 511 U.S. 825 (199 ) Wilson v. Seiter/ 501 U.S.
 29A (1991) to meet the objective Eighth Amendment standard you need to show
 THAT YOU WERE DEPRIVED OF A BASIC HUMAN NEED OR YOU WERE SIMPLY;exposed to
 harm. Under the subjective part of the test/ you must show that the prison
 OFFICIAL YOU ARE SUING KNEW YOU WERE BEING DEPRIVED OR HARMED AND DID NOT RESP¬
 OND reasonably. You must also show how you were injured and prove that the
 DENIAL OF A BASIC NEED CAUSED YOUR INJURY. UNDER THE OBJECTIVE PART OF THE
 TEST/ THE Court will look at whether the CONDITION OR conditions YOU ARE
 CHALLENGING COULD SERIOUSLY AFFECT YOUR HEALTH OR SAFETY. In CONSIDERING A
 CONDITION A COURT WILL THINK ABOUT HOW BAD IT IS AND HOW LONG IT HAS LASTED.
 Barney v. Pulsipher/ 195 F.5d 1299/ 1511 (10th Cir.1998) You must show that
 YOU WERE INJURED EITHER PHYSICALLY OR PSYCHOLOGICALLY/ YOU MAY CHALLENGE
 CONDITIONS EVEN ITHOUT AN INJURY/ IF YOU CAN SHOW THAT THE CONDITION PUTS YOU
 AT SERIOUS RISK FOR AN INJURY IN THE FUTURE/ LIKE SECOND-HAND SMOKE. HELLING
 v. McKinney/ 509 U.S. 25(1993). Under the subjective part of the test/ you
 MUST SHOW THAT THE OFFICIAL YOU ARE SUING ACTED WITH DELIBERATE INDIFFERENCE.
 Wilson v. Teiter/ 501 U.S. 2.99(1991). It means that the official knew of the
 CONDITION AND DID NOT RESPOND TO IT IN A REASONABLE MANNER. FARMER V. BRENNAN/
 511 U.S. 825(1999). One way to show this is by proving that the condition
 was so obvious that the official must either know about it or be purposefully
 ignoring it. Courts must also consider any complaints or grievance reports
 THAT YOU OR OTHER PRISONERS HAVE FILED. VANCE V. PETERS/ 97 F.3d 987 (7TH


                                     6.
Case 9:20-cv-00043-RC-CLS Document 1 Filed 03/10/20 Page 16 of 23 PageID #: 16



Thf Right To aff Working Conditions Continued


f.IR. 1996) AS WELL AS PRISON RECORDS THAT REFER TO THE PROBLEM. PRISON
OFFICIALS CANNOT IG ORE A PROBLEM O CE IT IS BROUGHT TO THEIR ATTENTION.
Prison officials may try to argue that the prison does not have enough money
TO FIX PROBLEMS BUT COURTS DO NOT ACCEPT THIS DEFENSE. CaRTY V.,TURNBULL..
    . SlIPP. 2d (V. T .2001). IT IS IMPORTANT TO NOTE THAT WHILE THERE IS A
 SUBJECTIVE COMPONE T TO EIGHTH AMENDMENT CLAIMS. THE PRISONER NEED NOT SHOW
WHY PRISON OFFICIALS ACTED AS THEY DID.



                          Air Quality And Temperature


      Prisoners h ve successfully challenged air quality when it posed a serious
 DANGER TO THEIR HEALTH. PARTICULARLY IN CASES OF SECOND HAND SMOKE. lALAL.Vi.
 W ttfi m F.3n ? (Pth niR.2005) and see Alvarado v. Litscher. 267 F.3d 6A8
 (7th Cir.POQI) and asbestos. Labounty v. Coughlin. 157 F.5d 68(2d Cir.19981
 Prisoners have also successfully challenged problems with lighting. Hoptowit .
 Rpfiiman. 753 F-?n 779. 785 (9th Cir. 1985). Fire Safety Id at 78 Furnishings.
 Brown v. Rargev. 707 F.5d 865 (6th Cir.20001 accommodation of physical disa-
 btitttfs. radley V. Puckett. 157 F.5d 1022 (5th Cir. 1998). unsafe work
 requirements. Fruit v. Norris. 9Q5 F.2d 1147 (8th .Cir. 199Q1; as well as other
 inadequate or inhumane conditions.




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Case 9:20-cv-00043-RC-CLS Document 1 Filed 03/10/20 Page 17 of 23 PageID #: 17



                                     Prayer

 Wherefore Plaintiff prays this Honorable Court will grant said relief in full
 OR IN PART AS IT DEEMS NECESSARY.




                                     Signature




                                     Date .




                             Certificate Of Service


 L Edward Herrera Plaintiff PRO-SE did place one original and copy of 1983
 with Memorandum in support there of in the Unit ilbox on this the bi//
 DAY OF 70rL j ||BK TO THE UNITED STATES DISTRICT COURT CLERK S
 Office. Eastern District of Texas. 109 North Third Street. Lufkin. -Texas.
 75901.




                                     Signature



                                       /vl/?/'( /       , tSo
                                     Date
Case 9:20-cv-00043-RC-CLS Document 1 Filed 03/10/20 Page 18 of 23 PageID #: 18



                             Unsworn Declaration


L Edward Herrera Plaintiff, PRO-SE, swear that I am the Plaintiff in this
ACTION AND I KNOW THE CONTENTS TO BE TRUE AND EXACT TO THE BEST OF MY KNOW¬
LEDGE UNDER THE PENALTY OF PERJURY.


Executed on this the b<f/{ day of ilBlB




                                      Signed



                                       A ?dr ( // 6 //
                                      JPate




                                         9.
             Case 9:20-cv-00043-RC-CLS Document 1 Filed 03/10/20 Page 19 of 23 PageID #: 19

                    Texas Department of Criminal Ju tice                                       OFFICE USE ONLY
                                                                                       Grievance #:
                                                  OFFENDER
                      STEP 1                   GRIEVANCE FORM
                                                                                       Date Received

                                                                                       Date Due

                                                                                       Grievance Code: icn~i
Offender Name: EDWARD HERRERA TDCJ # 585206                                            Investigator ID #:

Unit: JESTER III Housing Assignment: SH-A O                                            Extension Date

Unit where incident occurred: EASTHAM                                                  Date Retd to Offender: mi,     'imq
                                                                                                             ,) u!




You must try to resolve your problem with a staff member before you submit a formal complaint, The only exception is when
appealine the results of u disdpli eajjg,,ICAL gTApF
Who did you talk to (name, title)?                                                             when?MARCH/APRIL 2017
What was their response? DIAGNOSIS
What action was taken? ONGOING MEDICAL T EATMENT

State your g ievance in the space provided. Please state who, hat, when, here and the disciplinary case number if appropriate
WHILE HOUSED AT THE EASTHAM UNIT F OM 2003-2017, I ORKED IN THE GARMENT FACTORY
FROM 2005 TO 2016. DURING THIS TIME, I-BREATHED LARGE AMOUNTS OF DUST A D OTHER
POLLUTANTS IN THE FACTORY WITHOUT.BEING PROVIDED ANY FORM OF BREATHING PROTECTION
THIS FAILURE TO PROVIDE A SAFE WORKING E VIRONMENT RESULTED IN BEING DIAG OSED
WITH INTERSTITIAI lUNG DISEASE WITH CHRONIC HYPOXIC RESPIRATORY FAILURE, DUE TO
INHALATIONAL LUNG I JURIES SUSTAI ED WHILE WORKING I THE FACTO . THIS RESULTED
IN NUMEROUS HOSPITAL STAYS AND PERMANE T PLACEMENT IN THE SHELTE ED HOUSING FACI-
LITY AT JESTER III. THIS CONDITION HAS MADE ME PERMANENTLY DISABLED, REQUIRING
FULL TIME OXYGEN'A D PLACING ME I A WHEELCHAI AS WELL AS SIGNIFICA TLY REDUCING
MY LI ESPAN. THIS LACK OF FUTURE EMPLOYABILITY, HEALTH COSTS, REDUCED QUALITY"OF
LIFE AND PS YUHQLOGICa TmPACT HAS /rDE TATING t 'cT~ M Hi~ D~MY IMMEDIATE
FAMILY. RESPONSIBILITIES FOR THIS UNSAFE ENVI O MENT CAUSING THESE D AGES INCLUDJ
RUT ARE NOT LIMITED TO DU I G SAID TIME FRAME A E THE DIRECTOR(S) OF TDCJ, UNIT
WARDENTS) A D ASSISTANT WA DE ( '"UNrr AJO 's)'_A D IMMEDIATE~SIJPERVISORS~




  27 Frost Revised 11-2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM                                             (OVER)

                                                                                                                     Appendix F
          Case 9:20-cv-00043-RC-CLS Document 1 Filed 03/10/20 Page 20 of 23 PageID #: 20




Ac ion Requested to resolve your Complai t. AN I VESTIGATIO TO DETERMI E THE FACTS OF THIS

complaintT

Offender Signature: _                                                                                          Date:

Grievance Response:

        This grievance has been reviewed by Thomas Practice Manager. Your complaint of a lung disease caused
        by work completed in a garment factory cannot be investi ated by this office. Causality cannot be
        determined at this level and through this medium. Your needs are currently being met at the Jester 3
        Sheltered Housing Unit. Moreover, you have not named any complaints about care in the grievance. No
        further action required. Grievance unsubstantiated.




Signature Authority:                                                                                                                   Date
If ou are dissatisfied withi e Step 1 response, you may submit a Step (1-128) to the U it Grievance Investigator ithin IS days from the ate of the Step 1 response.
State the eason for appeafon the Step 2 Form.

Returned because:          *Re ubmit this form when the corrections are made.

    l. Grievable time period has e pired.
    2. Submission in excess of 1 every 7 days. *                                                                       OFFICE USE ONLY
                                                                                                           Initial Submission UGI Initials:
    3. Originals not submitted. *
                                                                                                           Grievance                              #:
    4. Inappropriate/Excessive attach ents. *
                                                                                                           Screening Criteria Used:
    5. No documented attempt at informal resolution. *
                                                                                                           Date Reed from Offender:
    6. No requested relief is stated. *
                                                                                                           Date Returned to Offender:
FI 7. Malicious use of vulgar, indecent, or physically threatening language. *
                                                                                                           l111'Submission UGi initials:
    8. The issue presented is not grievable.                                                               Grievance                              #:
I~1 9. Redundant, Refer to grievance #                                                                     Screening Criteria Used:
    10. Illegible/Incomprehensible. *                                                                      Date Reed from Offender:
    11. Inappro riate. *                                                                                   Date Returned to Offender:

UGI Printed Name/Signature:                                                                                3ul,Submission UGI injtjais:
                                                                                                           Grievance                              it:
Application of the screening criteria for this grievance i not expected to adversely
                                                                                                           Screening Criteria Used:
Affect the offender s health.
                                                                                                           Date Reed from Offender:
Medical Signature Authority:                                                                               Date Returned to Offen er:

1-127 Back (Revised 11-2010)
                                                                                                                                                       Appendix F
           Case 9:20-cv-00043-RC-CLS Document 1 Filed 03/10/20 Page 21 of 23 PageID #: 21

                                                            3V(4\1 3
                                                                                                     OFFICE USE ONLY

                           Texas Department of Criminal Justice                                 Grievance #: (*1Q

                                                                                                UGI Reed Date: / i 8 -
                        STEP 2 OFFENDER                                                         HQ Reed Date: a-O
                                                    GRIEVANCE FORM                              Date Due:. 3-tfXO

Offender Name:.                                     >    D TDCJ 0 b                             Grievance Code:.

Unit: 'jI          Housi g Assignment:                                 SHl)         ¦ 7         Investigator ED#: TD bX-

Unit where incident occurred: J AS fiP \                                                        Extension Date:



         You must attach the completed Step 1 Grievance that has been signed by the Warden for your Step 2 appeal to be
        accepted. You may not appeal to Step 2 with a Step 1 that has been returned unprocessed.


Give reason for appeal (Be Specific). lam dissatisfied with the response at Step 1 because...
                                                                                            iVth
     -fcARLV                                    / n              -STS
                                                                   F\
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  CP                    cc)               (y                 SzitC,                             (<           i     R
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 -7                   >                          fP;                              /A                     Tt
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    7)                  I'S A A /d(                                                 TV P                           P,
  / cpa
  p     PiKiv f<T
    q&a ViKif     i
                / y                                            /lf (
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                                                                   / p    G'sAjait
                                                                       >uex
   lbsf /a aP wmK/ cc>                               rEl ;%iU>/e£ 7                             f g /vygp t >_IfH_
           GPfe S ey f fEi A&£t)i3?& 7X3 A0&< / m f
 /rv               / tfi                ,           ck C                   sr             r        l ir                x




1-128 Front (Revised 11-2010)            YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM                                    (OVER)
                                                                                                                           Appendi G
           Case 9:20-cv-00043-RC-CLS Document 1 Filed 03/10/20 Page 22 of 23 PageID #: 22




Offender Signature:                                                                           Date: J ; /xa ,
Grievance Response:

A review of the medical grie ance and documentation has been completed regarding your medical complaint during your job assignment in
the garment factory, you were exposed to hazardous materials causing you to have lung damage. To remedy this, you are requesting a full
investigation to determine what your long-term medical treatment will be.

An appellate review of the medical grievance and clinical record indicates the response from Step 1 is appropriate. Upon further review of
your electronic health records, there is no way to determine if your exposure to hazardous materials in the garment factory were the cause of
your lung issues. Furthermore, after reviewing your medical history, you have received continuous medical treatment as far back as 09/27/2016
to present day. Your clinic note from 01/17/2020 documents you are feeling weak with history of respiratory failure, weight increase with no
pedal edema and you wanted to stop Lipitor but were advised to continue with medication. Currently, you are medically unassigned and are
being closely monitored by the medical staff. Per documentation you are receiving adequate access to care as per Correctional Managed
Health Care (CMHC) policy A-01.1.

Further review indicates you did not attempt an informal resolution of your medical concern with the supervisory staff member. Please refer
to CMHC policy A-12.1, attachment A, regarding getting medical attention. No further action is warranted at this time through the grievance
process.



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                                Tf?0J HI ! \ ¦'!p h;, a ; jjVjp.joM
Signature Authority:
                                                                                                              1-30- 0
Returned because: *Resubmit this form when correctio s are made.                                       OFFICE USE ONLY
                                                                                         Initial Submission            CGO Initial :
     1. Grievable time period has expired.                                               Date UGI Reed:

E 2. Illegible/Incomprehensible.*                                                        Date CGO Reed:
                                                                                            (check one) Screened       Improperly Submitted
E 3. Originals not submitted. *
                                                                                         Comments:
ED 4. Inappropriate/Excessive attachments.*
                                                                                         Date Retu ed to Offender:

     S. Malicious use of vulgar, indecent, or physically threatening language. 2 ! ub is ion                          CGO Initial :
                                                                                         Date UGI Reed:
ED 6. Inappropriate.*
                                                                                         Date CGO Reed:
                                                                                            (check one) Screened       Improperly Submitted
                                                                                         Comments:

CGO Staff Signature:                                                                     Date Returned to Offender:
                                                                                         3°* ubmis ion                CGO Initials:
                                                                                         Date UGI Reed:
                                                                                         Date CGO eed:
                                                                                            (check one) Screened       Improperly Submitted
                                                                                         Comments:

                                                                                         Date Returned to Offender:



1-128 Back (Revised 11-2010)                                                                                          Appendi G
             Case 9:20-cv-00043-RC-CLS Document 1 Filed 03/10/20 Page 23 of 23 PageID #: 23

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